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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION

KELVIN LEON JONES, et al.,

             Plaintiffs,
                                                       CONSOLIDATED
v.                                                     Case No. 4:19-cv-300-RH/MJF

RON DeSANTIS, et al.,

             Defendants.
                                                   /

              THE GOVERNOR & SECRETARY OF STATE’S
                MOTION FOR A STAY PENDING APPEAL
             AND INCORPORATED MEMORANDUM OF LAW

                                  BACKGROUND

      After an eight-day bench trial in these five-consolidated cases, this Court

issued on May 24, 2020 a final opinion and order on the merits, ECF No. 420, and

on May 26, 2020 a final judgment. ECF 421. The final order and judgment include

specific injunctive relief. The Governor and Secretary of State seek a stay of the final

order and judgment pending resolution of their request for an expedited, en banc

appeal before the U.S. Court of Appeals for the Eleventh Circuit.

                                    ARGUMENT

      In deciding whether to grant a stay, this Court considers “(1) whether the stay

applicant has made a strong showing that he is likely to succeed on the merits;

(2) whether the applicant will be irreparably injured absent a stay; (3) whether
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issuance of the stay will substantially injure the other parties interested in the

proceeding; and (4) where the public interest lies.” Nken v. Holder, 556 U.S. 418,

434 (2009). The first two factors are the “most critical.” Id.

I.    THE STATE IS SUBSTANTIALLY LIKELY TO SUCCEED ON THE
      MERITS.

      A.     This Court’s Wealth-Based Discrimination holding (and the 11th
             Circuit’s preliminary injunction opinion) conflict with binding
             precedent and are likely to be revisited by the en banc 11th Circuit.

      1. All Equal Protection challenges, including the wealth-based discrimination

claims brought by the Plaintiffs, require a showing of intentional discrimination.

Indeed, the Eleventh Circuit has held, in the specific context of felon re-

enfranchisement, that a “scheme could violate equal protection if it ha[s] both the

purpose and effect of invidious discrimination.” Hand v. Scott, 888 F.3d 1206, 1207

(11th Cir. 2018) (underline in original). Because the Plaintiffs “have not alleged—

let alone established . . . —that Florida’s scheme has a discriminatory purpose,” id.,

Eleventh Circuit law forecloses their wealth-based discrimination claim.

      Although the Eleventh Circuit held otherwise at the preliminary-injunction

stage, it did so in a way that created an irreconcilable, intra-circuit conflict with

Hand. By the plain terms of the Hand opinion, all Equal Protection challenges (like

the Plaintiffs’ wealth-based discrimination claims) brought against any

“reenfranchisement scheme[]” (like Senate Bill 7066) require proof that the scheme

has “both the purpose and effect of invidious discrimination.” Id. (underline in

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original). To limit Hand’s holding to race-based discrimination claims requires

rewriting that first-in-time opinion.

      Despite the preliminary-injunction opinion’s attempt to limit Hand to race-

based equal protection challenges by, e.g., pointing to language from a different case

that the Hand opinion happened to quote,1 Hand itself was not race-discrimination

case. Rather, the Hand Plaintiffs alleged that “Florida’s scheme of voter

reenfranchisement for convicted felons” afforded “the State Executive Clemency

Board . . . ‘unbridled discretion’ to deny voter reenfranchisement in the absence of

any articulable standards.” Id. at 1207. In rejecting their Equal Protection challenge,

the Hand Court noted that the Hand Plaintiffs had “not shown (nor have they even

claimed) that Florida’s constitutional and statutory scheme had as its purpose the

intent to discriminate on account of, say, race, national origin, or some other insular

classification; or that it had the effect of a disparate impact on an insular minority.”

Id. at 1210 (emphases added). Because Hand did not adjudicate a claim of race

discrimination, the preliminary-injunction opinion erred by finding Hand inapposite




      1
        Specifically, the preliminary-injunction opinion quoted Hand as holding that
“Proof of racially discriminatory intent or purpose is required to show a violation of
the Equal Protection Clause.” Jones v. Governor of Fla., 950 F.3d 795, 828 (11th
Cir. 2020) (emphasis added). That quote from Hand, however, was itself a quote
from the Supreme Court’s opinion in Hunter v. Underwood, 471 U.S. 222, 228
(1985). See Hand, 888 F.3d at 1210.
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because the wealth-based discrimination claim here is “not a race discrimination”

claim. Jones, 950 F.3d at 828.

       And, to be clear, the distinction that both Amendment 4 and Senate Bill 7066

make is based on a past conviction for a felony, not wealth. No wealth-based

distinction is apparent on the face of either the constitutional or statutory provision.

No intent can be gleaned from the text of the constitutional or statutory provisions

other than the conditioning of re-enfranchisement on satisfaction of “all terms of

sentence” for a felony except “murder or a felony sexual offense.”

       For these reasons, the State is substantially likely to succeed on the merits of

its argument that the Plaintiffs’ wealth-based discrimination claim must fail because

the Plaintiffs failed to allege, let alone establish, the State’s intention to discriminate

on the basis of wealth when it passed Senate Bill 7066.

       2. Wealth-based discrimination claims, moreover, are subject only to

rational-basis review. Because the State may “exclude from the franchise convicted

felons who have completed their sentences and paroles,” Richardson v. Ramirez, 418

U.S. 24, 55 (1974), it follows that, “[h]aving lost their voting rights, [the] Plaintiffs

lack any fundamental interest to assert.” Johnson v. Bredesen, 624 F.3d 742, 746

(6th Cir. 2010); see also Owens v. Barnes, 711 F.2d 25, 27 (3d Cir. 1983) (“[T]he

right of felons to vote is not ‘fundamental.’”). Indigency, of course, is not a protected

class for purposes of equal protection. Harris v. McRae, 448 U.S. 297, 323 (1980);


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see also Papasan v. Allain, 478 U.S. 265, 283-84 (1986); Maher v. Roe, 432 U.S.

464, 471 (1977). And “[u]nless the challenged classification burdens a fundamental

right or targets a suspect class, the Equal Protection Clause requires only that the

classification be rationally related to a legitimate state interest.” Lofton v. Sec’y of

the Dep’t of Children & Family Servs., 358 F.3d 804, 818 (11th Cir. 2004) (citing

Nordlinger v. Hahn, 505 U.S. 1, 10, 112 (1992)).

      Lest there be any doubt about the appropriate standard of review, the former

Fifth Circuit, in an opinion that still binds this Court, see Bonner v. City of Prichard,

661 F.2d 1206, 1207 (11th Cir. 1981), has held that “selective disenfranchisement

or re-enfranchisement of convicted felons . . . must bear” only “a rational

relationship to the achieving of a legitimate state interest.” Shepherd v. Trevino, 575

F.2d 1110, 1114-15 (5th Cir. 1978). Because Senate Bill 7066 prescribes how

“selective. . . re-enfranchisement of convicted felons” is to occur, Shepherd controls

the standard of review.

      The preliminary-injunction opinion erred in its attempt to distinguish

Shepherd, and the State is substantially likely to prove this on appeal. The sum-total

of the preliminary-injunction opinion’s attempt to distinguish Shepherd is this: “the

classification [at issue in Shepherd] did not implicate wealth or any suspect

classification.” Jones, 950 F.3d at 824. Although true, these points are irrelevant. As

noted above, decades of supreme court caselaw confirm that indigency (i.e., lack of


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wealth) is not a suspect class and does not ratchet up the level of scrutiny.2 And

because Shepherd remains the law of the circuit, the State is substantially likely to

succeed on the merits of its argument that the Plaintiffs’ wealth-based discrimination

claim must be analyzed under the rational-basis standard.3

      3. Senate Bill 7066 plainly survives rational basis review. As an initial matter,

the rationality of Senate Bill 7066 must be assessed with regard to all felons who

seek re-enfranchisement, and not as-applied either to a sub-class of felons who

cannot afford to pay their legal financial obligations. “[A] classification does not



      2
         Every court to address this question is in accord, see, e.g., Bredesen, 624
F.3d at 746; Harvey, 605 F.3d at 1079; Owens, 711 F.2d at 27, including the
dissenting opinion in Bredesen, see Bredesen, 624 F.3d at 755 (Moore, J., dissenting)
(“I agree with the majority as to some components of its equal-protection analysis. I
agree that the Plaintiffs in this case have no fundamental right to vote under existing
case law. See Wesley v. Collins, 791 F.2d 1255, 1261 (6th Cir. 1986) (citing, among
other cases, Richardson v. Ramirez, 418 U.S. 24, 26 (1974)). I also agree that the
Plaintiffs’ membership in ‘a class of less wealthy individuals is not a suspect class’
under prevailing precedent. Molina-Crespo v. United States MSPB, 547 F.3d 651,
660 (6th Cir. 2008) (citing San Antonio Indep. Sch. Dist. v. Rodriguez, 411 U.S. 1,
29 (1973)). Given these two conclusions, I must also agree that, because the
Tennessee provisions neither burden a fundamental right nor discriminate against a
suspect class, the Plaintiffs bear the burden to show that § 40-29-202(b) and (c) bear
no rational relationship to any legitimate government end. See FCC v. Beach
Communications, 508 U.S. 307, 315 (1993).”).
      3
        Rational-basis review applies for the independent reason that neither Senate
Bill 7066 nor Amendment 4 disenfranchise anyone. Instead, they re-enfranchise
former felons who have fully paid their debt to society. Because the Plaintiffs take
issue with a reform measure that, in their view, should be available to a broader
group, “the principle that calls for the closest scrutiny of distinctions in laws denying
fundamental rights, is inapplicable.” Katzenbach v. Morgan, 384 U.S. 641, 657
(1966).
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violate the Equal Protection Clause so long as there is a rational relationship between

the disparity of treatment and some legitimate governmental purpose.” Estrada v.

Becker, 917 F.3d 1298, 1310 (11th Cir. 2019) (emphasis added).4 Classifications, in

turn, can be “significantly over-inclusive or under-inclusive.” Williams v. Pryor, 240

F.3d 944, 948 (11th Cir. 2001). Indeed, “[n]early any statute which classifies people

may be irrational as applied in particular cases.” Beller v. Middendorf, 632 F.2d 788,

808 n.20 (9th Cir. 1980) (Kennedy, J.). But, so long as the generally applicable

classification they draw is rational, rational-basis review is met. Cf. Crawford v.

Marion Cty. Election Bd., 553 U.S. 181, 206 (2008) (Scalia, J., concurring)

(explaining in a First and Fourteenth Amendment context that when courts “grapple

with the magnitude of burdens [on the right to vote], [they do] so categorically and

[do] not consider the peculiar circumstances of individual voters or candidates”).

      For that reason, Senate Bill 7066 “must be upheld” if there is “any reasonably

conceivable state of facts that could provide a rational basis for the classification.”

FCC v. Beach Commc’ns, Inc., 508 U.S. 307, 313 (1993).5 And there are plenty.


      4
         See also Estrada, 917 F.3d at 1310-11 (“[A] classification must be upheld
against equal protection challenge if there is any reasonably conceivable state of
facts that could provide a rational basis for the classification. . . . We assume the
classification is constitutional, and the appellants—as the challengers—must
negative every conceivable basis which might support the classification.” (emphases
added) (internal citations and quotation marks omitted)).
      5
        Accord Edward J. DeBartolo Corp. v. Fla. Gulf Coast Bldg. & Constr.
Trades Council, 485 U.S. 568, 575 (1988) (holding that “every reasonable
construction must be resorted to, in order to save a statute from unconstitutionality”);
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Most critically, and as Justice O’Connor recognized, a state may reasonably

conclude that “only those who have satisfied their debts to society through fulfilling

the terms of a criminal sentence are entitled to restoration of their voting rights.”

Harvey, 605 F.3d at 1079. And as the Sixth Circuit observed, states have legitimate

interests in requiring criminals “to fulfill their sentences.” Bredesen, 624 F.3d at 747.

The State, moreover, has a “valid interest[]” in “encouraging payment” of legal

financial obligations. Bredesen, 624 F.3d at 747.6

      Senate Bill 7066 was “not aimed at encouraging the collection of payment

from indigent felons, but from all felons.” Bredesen, 624 F.3d at 748 (emphases in

original); see also Madison, 163 P.3d at 759 (Washington re-enfranchisement law

“does not distinguish between rich or poor felons” and instead requires “all felons

to complete all of the terms of their sentences before they may seek reinstatement of

their civil rights”). The State plainly acted rationally when it drew the line at re-

enfranchisement of those former felons who had repaid their entire debt to society,

as established in the four corners of their respective sentencing documents. The


Vance v. Bradley, 440 U.S. 93, 97 (1979) (court will not strike down a statute under
rational-basis review “unless the varying treatment of different groups or persons is
so unrelated to the achievement of any combination of legitimate purposes that [the
court] can only conclude that the legislature’s actions were irrational”).
      6
         Even if, as the Court found, the “mine-run” former felon might not be able
to pay off all legal financial obligations immediately, he or she can work towards
satisfying these legal financial obligations over time. The legislature did not act
irrationally by incentivizing gradual repayment of debts incurred due to felony
convictions.
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State’s “every-dollar method” for calculating and determining when the debt had

been paid did not blur the rational basis. ECF 420 at 56. Rather, this made the line

easier to see; the debt-to-society rationale underlying the fulfillment of all terms of

a sentence and administrability rationale underlying the every-dollar method are not

mutually exclusive. Accordingly, the State is likely to succeed on its argument that

Senate Bill 7066 survives rational-basis review.

      B.     The Plaintiffs have no cognizable Twenty-Fourth Amendment
             claim, and even if they did, fees and courts costs are not “other
             taxes.”

      1. Before this Court’s final opinion, five federal courts (three circuits and two

districts), one of which included a retired United States Supreme Court Justice, had

taken up the question whether former felons could avail themselves of a Twenty-

Fourth Amendment claim. Each earlier court has held, in so many words, that

“[h]aving lost their right to vote, [former felons] now have no cognizable Twenty-

Fourth Amendment claim until their voting rights are restored.” Harvey, 605 F.3d at

1080 (O’Connor, J.).7 Because this Court’s order is joining the short side of a

lopsided split (five federal court opinions versus one dissenting opinion), it is

substantially likely that the State will prevail on appeal.



      7
       Accord Johnson v. Bredesen, 624 F.3d 742, 750 (6th Cir. 2010); Howard v.
Gilmore, No. 99-2285, 2000 WL 203984, at *2 (4th Cir. Feb. 23, 2000); Thompson
v. Alabama, 293 F. Supp. 3d 1313, 1332-33 (M.D. Ala. 2017); Coronado v.
Napolitano, No. 07-1089, 2008 WL 191987 (D. Ariz. Jan. 22, 2008).
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      2. Even if the State fails on its argument that the Twenty-Fourth Amendment

is categorically inapplicable, it is still substantially likely to succeed on its argument

that the Plaintiffs’ Twenty-Fourth Amendment claim fails. As this Court’s final

opinion recognizes, “[t]he financial obligations at issue were imposed as part of a

criminal sentence.” ECF No. 420, at 73. This means that, as a practical matter, only

those fines and fees that are included in a punitive sanctioning document (a criminal

sentence) need be completed before a former felon regains his right to vote.

      In other words, although some costs and fees are imposed regardless of

adjudication, only those costs and fees that constitute part of a felony sentence (i.e.,

a punitive sanction) will bar a former felon from the ballot box, so long as they

remain incomplete. For this reason, they serve largely the same “regulation and

punishment” ends as do fines and restitution. Bailey v. Drexel Furniture Co., 259

U.S. 20, 38 (1922). And that renders immaterial the observation that “fees” in

general “are assessed regardless of whether a defendant is adjudged guilty.” ECF

No. 420, at 78.

      That the proceeds of fees and costs make their way to the State does not turn

legal financial obligations designed to serve the punitive, retributive, and

rehabilitative ends of the criminal justice system into taxes for purposes of the

Twenty-Fourth Amendment. If that were all it took to create a Twenty-Fourth

Amendment violation, then the fine-repayment requirement would also raise


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substantial constitutional concerns, and this Court has twice rejected the argument

that they do. For these reasons, the State is substantially likely to succeed on the

merits of the Plaintiffs’ Twenty-Fourth Amendment claim.

       C.    Much of the Court’s injunction becomes unnecessary if the State
             succeeds on the merits.

       During the last several months, the State has worked feverously to learn how

to implement a novel felon re-enfranchisement system while exercising its right to

defend Amendment 4 and Senate Bill 7066. Part of the State’s defense has been (and,

on appeal, will continue to be) that it need not determine a person’s ability to pay.

And, as explained at trial, the State expects that the advisory opinion process will

otherwise help determine eligibility to register and vote under Amendment 4 and

Senate Bill 7066, together with information that individuals themselves have, or

have access to through public defenders and private lawyers and clerks of court.

       For the reasons discussed above, the State expects to succeed on the merits. If

the State does succeed, then much of this Court’s injunctive relief becomes

unnecessary because that relief is derivative of the substantive conclusions regarding

an inability to pay a precise amount that excludes fees and costs. Compare ECF 420

at 118-19, ¶ 2 with id. at 119-23, ¶¶ 4, 6-16.

II.    THE STATE WILL BE IRREPARABLY HARMED ABSENT A STAY.

       As this Court has already recognized, “[i]f a plaintiff is allowed to vote but it

turns out the plaintiff is ineligible, the State will suffer irreparable harm, and the

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public interest will not be served.” ECF No. 234, at 11. Voting for the August

primary begins in mere weeks. See Election Dates for 2020, FLA. DEP’T OF STATE,

DIV.   OF   ELECTIONS, https://dos.myflorida.com/elections/for-voters/election-dates/

(last visited May 28, 2020). There will be no presidential, gubernatorial, or U.S.

Senate race in that primary. Id. Without a particularly newsworthy race, turnout for

the August primary is historically lower compared to two other statewide elections

during the year, the presidential preference primary and the general election; fewer

voters decide the outcome in the August primary. Compare 2008, 2012, 2016 Non-

Presidential Primary Turnout, with 2008, 2012, 2016 Presidential Primary and

General Election Turnout.8 Thus, absent a stay, the effect of voters who another

court later reveals to be ineligible to vote would be more pronounced in the lower

turnout August election, causing irreparable harm to the State and the integrity of

the election process.

        The State also has “a substantial interest in avoiding chaos and uncertainty in

its election procedures.” Hand, 888 F.3d at 1214. While respectful and mindful of

this Court’s final order, the State recognizes that the final order is anything but final.

Additional changes might yet come as appellate courts grapple with these important

issues. Changing from one scheme to another—each with its own set of rules, forms,


8
  See Voter Turnout Summary Data, FLA. DEP’T OF STATE, DIV. OF ELECTIONS,
https://dos.myflorida.com/elections/data-statistics/elections-data/voter-turnout/
(last visited May 28, 2020).
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guidance, and communication to elections officials—would make the already

difficult task of conducting an election even more difficult.

        Finally, as a more general matter, “any time a State is enjoined by a court from

effectuating statutes enacted by representatives of its people, it suffers a form of

irreparable injury.” New Motor Vehicle Bd. of Cal. v. Orrin W. Fox Co., 434 U.S.

1345, 1351 (1977) (Rehnquist, J., in chambers); accord, e.g., Maryland v. King, 567

U.S. 1301, 1301 (2012) (Roberts, C.J., in chambers); Hand, 888 F.3d at 1241. This

is especially true where, as here, parts of a state constitutional amendment—

approved by millions of Floridians—together with a state statute are concerned.

III.    A STAY WILL NOT SUBSTANTIALLY INJURE ANY FORMER
        FELON.

        As of the date of this filing (May 29, 2020), the State has already filed its

Notice of Appeal. Additionally, the State plans to request immediate en banc review,

on an expedited basis. With these attempts to expedite resolution of the appeal, the

State hopes to have a more definitive resolution of the issues before the November

2020 General Election. If the State is wrong on the merits, injury to those wishing

to cast a ballot should be limited to the August 2020, non-presidential primary.

IV.     A STAY WILL SERVE THE PUBLIC INTEREST.

        As this Court has already recognized, “[t]he public interest in the integrity of

elections outstrips, though just barely, the interest of an individual plaintiff in

voting.” ECF No. 234, at 11. This is because “[i]f a plaintiff is allowed to vote but it

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turns out the plaintiff is ineligible, the State will suffer irreparable harm, and the

public interest will not be served.” ECF No. 234, at 11. And as discussed above, the

problem is particularly acute in a lower turnout election like the August primary

where fewer voters vote, making the impact of each ineligible voter greater.

      Moreover, the public interest is served in allowing the appeals process to end

before making major changes to the State’s voter-eligibility requirements. This

would better preserve the autonomy of the States in our federal system. The

significance of that last interest should not be underestimated. When “fundamental

questions of federalism” are at stake, “considerations of comity [should] prevent this

Court from determining that the interests of the State of Florida are either

outweighed by any threatened harm to [private litigants], or are inconsistent with

‘public policy.’” Jupiter Wreck, Inc. v. Unidentified, Wrecked & Abandoned Sailing

Vessel, 691 F. Supp. 1377, 1390 (S.D. Fla. 1988) (Marcus, J.).

                                  CONCLUSION

      For the foregoing reasons, this Court should stay the effect of the final order,

ECF No. 420, and final judgment, ECF 421, pending appellate review of this case.




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         CERTIFICATE OF COMPLIANCE WITH LOCAL RULES

      The undersigned certifies that the foregoing complies with the size, font, and

formatting requirements of Local Rule 5.1(C), and that the foregoing complies with

the word limit in Local Rule 7.1(F); this motion contains 2,879 words, excluding the

case style, signature block, and certificates.

      The undersigned conferred with counsel for the Plaintiffs regarding the

foregoing. Plaintiffs oppose the relief sought.

                                                   /s/ Mohammad O. Jazil
                                                   Attorney
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                         CERTIFICATE OF SERVICE
      I HEREBY CERTIFY that a true and correct copy of the foregoing was served

to all counsel of record via email on this May 29, 2020.

                                                   /s/ Mohammad O. Jazil
                                                   Attorney
